   Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 1 of 30 PageID# 1




                  IN THE UNITED STATES DISTRICT COURT FO
                            EASTERN DISTRICT OF VIRGINIA


                                      Alexandria Division
                                                                                CLERK U.S. DISTRICT COURT
                                                                                  ALEXANDRIA, VIRGINIA


 UNITED STATES OF AMERICA                          Criminal No. 1:20-CR-145

            V.                                     Count 1:      Conspiracy to Commit Wire
                                                                 Fraud Affecting a Financial
 MAKSIM BEREZAN,                                                 Institution
                                                                 (18U.S.C. § 1349)
                        Defendant.
                                                   Counts 2-4:   Wire Fraud Affecting a
                                                                 Financial Institution
                                                                 (18U.S.C.§§ 1343&2(a))

                                                   Count 5:      Conspiracy to Commit Access
                                                                 Device Fraud and Computer
                                                                 Intrusions
                                                                 (I8U.S.C. §371)

                                                   Count 6:      Access Device Fraud
                                                                 {I8U.S.C. §§ 1029(a)(3),
                                                                 1029(b)(1)& 2(a))

                                                   Forfeiture Notice

                                                   Filed Under Seal




                                        INDICTMENT


                           June 2020 Term - at Alexandria, Virginia

THE GRAND JURY CHARGES THAT:

                                 GENEIU^L ALLEGATIONS

       At all times material to this Indictment,

       I.        Defendant MAKSIM BEREZAN was an Estonian national who has resided in

Latvia and elsewhere.
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 2 of 30 PageID# 2
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 3 of 30 PageID# 3
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 4 of 30 PageID# 4
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 5 of 30 PageID# 5
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 6 of 30 PageID# 6
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 7 of 30 PageID# 7
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 8 of 30 PageID# 8
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 9 of 30 PageID# 9
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 10 of 30 PageID# 10
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 11 of 30 PageID# 11
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 12 of 30 PageID# 12
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 13 of 30 PageID# 13
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 14 of 30 PageID# 14
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 15 of 30 PageID# 15
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 16 of 30 PageID# 16
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 17 of 30 PageID# 17
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 18 of 30 PageID# 18
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 19 of 30 PageID# 19
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 20 of 30 PageID# 20
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 21 of 30 PageID# 21
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 22 of 30 PageID# 22
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 23 of 30 PageID# 23
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 24 of 30 PageID# 24
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 25 of 30 PageID# 25
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 26 of 30 PageID# 26
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 27 of 30 PageID# 27
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 28 of 30 PageID# 28
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 29 of 30 PageID# 29
Case 1:20-cr-00145-TSE Document 1 Filed 06/24/20 Page 30 of 30 PageID# 30
